I-INITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
In re:

GABRIELLE CROCKETT

                               Debtor

GABzuELLE CROCKETT
10 Orleans St.
Rochester, New York 146ll
                               Plaintiff,
                                                      BK#     20531
             -against-                                AP#

COLINTY OF MONROE AND
THOMAS ELLIS, third parry purchase of l0
Orleans St. at tax foreclosure auction held on
September 26,2023


                             Defendants.



                                1. PRELIMINARY STA

        1. This is an adversary Proceeding by plaintiff G        LE CROCKETT, (hereafter

"Debtor") against Defendants, MONROE COUNTY (                "Monroe County") and

THOMAS ELLIS, (hereafter ("property purchaser,,) to a       the tax foreclosure of her family

home at l0 Orleans St., Rochester, N.y. 146ll, as a fra      conveyance, pursuant to 1 1

U.S.C Sec. 548(a)(1)(b) and U.S. C. sec. 522 (h). Monroe         obtained a judgment of

foreclosure due to property tax arrears of $3.765.44, far      the value of the property. The

property tax foreclosure auction was held on September 2       . The purchaser at the sale was

Thomas Ellis . The purchase price was $6000.00. The         13 filing was after the date of sale.

The completion of the sale has been stayed by the           filing. Defendants have moved to

remove the automatic stay which is pending for February 8




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        2.      On October 24, 2023, Debtor filed her          13 petition. Her plan provides for

full payment of the Monroe County property tax arrears,       100% of the existing City of

Rochester tax arrears of $2000.00. Debtor's only other sec.     debt is the balance of the loan on

her vehicle which will be paid through the plan per             with the lender who is

cooperating with Plaintiff by agreeing to a lower interest      Unsecured debts should not

exceed $1000.00. Debtor seeks to preserve her family          for her and her autistic six year old

child and to bring the asset back into the estate for the     of her creditors while allowing her

to preserve her legal and possessory rights which have         ld by her family for over 70 years.

       3. Debtor seeks judgment from this Court avoiding       transfer and sale of title to

Debtor's home and restoring debtor's ownership and                rights therein.

                                         II. JURISDICTION

       4. On October 24,2023, Debtor filed a petition i          above-captioned proceeding

under Chapter 13 of the U.S. Bankruptcy Act.

       5. Debtor has claimed her home at l0 Orleans             an exempt asset pursuant to 11

U.S.C. Sec. 522(d)(1). Defendants have not objected to thi     emption.

       6. This is a core proceeding pursuant to 28 U.S.           1s7(bX2XE) and (H).

       7   .   The Court has jurisdiction over applications     id a transfer of an asset for less

than reasonably equivalent value if the debtor was insolve     rendered insolvent as of the date

of transfer. 11 U.S.C sec. 548(a)(1)(B); 1l U.S. C. Sec. 52

                                           III. PARTIES

       8. Plaintiff is Debtor, Gabrielle Crockett. She is     current owner of 10 Orleans St.

which is her family home originally owned by her mother        owned and lived in the property

with her family starting in the early 1970s. Her mother       ly paid the mortgage over the years




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and when she transferred it to Debtor in20l7 it was free           clear.

        9. Defendant, MONROE COUNTY is a duly                      ituted county located in New York

State. The responsibilities of Monroe County include col              taxes assessed on real property

within the county.

         10. Defendant, THOMAS ELLIS is the thi                               of Debtor's home at 10

Orleans St., at the property tax foreclosure auction held                   County on September 26,

2023.


                                  IV. STATUTORY FRAME              ORK

        I   1. The foreclosure sale was conducted pursuant            Monroe County In Rem Tax

Foreclosure Act. (MCIRTFA)

        12. Under a judgment of foreclosure obtained                         County the homeowner

loses the ownership of such property and all rights in that                 in favor of the County and

any third party purchaser except the homeowner may parti              in surplus money proceedings.

Where as here, the property is sold for a small amount of             in excess of the tax owed, no

surplus exists. Debtor, a single mother, with her six year         child, came upon hard times and

starting in20l9 was unable to afford the payment of the             or at any time was she able to

enter into a repayment plan for property tax amearages or                   the property after the

deadline provided by the statute.

        13. In this case, because ofthe inadequate sale              propefty, not only the Debtor but

her creditors will obtain nothing and there is an unwa               n to the Defendants.

        14.      Under 1l U.S.C. sec. 548(a)(1)(B)(I) and (i       the chapter 13 Trustee may avoid

any transfer by a debtor, whether voluntary or involuntary,         was made within two years of the

filing of the petition, if the debtor received less than a reasc       equivalent value in exchange




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for such transfer and was made insolvent because of such         sfer.

                                  V. STATEMENT OF F

A.     Subject Premises and Debtor's Household.

        15. The subject property consists of a single           home situated on less than one

tenth of an acre of land located at 10 Orleans St., in the Ci     Rochester, Monroe County, New

York. This property is designated as Monroe County p             tax parcel 1290.26-3-43.

        16. At the time the tax foreclosure was                  2023, the subject property was

assessed by the City of Rochester assessor's office at $27 ,    .00. Debtor has valued it at

$30,000 in her Ch. 13 bankruptcy which valuation has not          objected to by Defendants.

        17. Debtor has lived in the property her entire life.     mother purchased the house in

1974 and continued to live in the property with her             the Debtor until2}l7 when she

transfened it to the Debtor who continues to live in the prc       with her autisti 6 year old son.

There is no other household member. Debtor owns no o                     but 10 Orleans St.

        18. Since the Ch. 13 petition was filed debtor has               an illness and has d to be

confined to the hospital for about three weeks. Under the        s of her employment with her

employer, Seven Eleven she was terminated from her job          is currently unemployed.

        19. Debtor's intention is to remain in her home',       h her six year old child. She

received a termination benefit from her employer which s        mmediately turned over to the Ch.

13 Trustee in support of her plan. Her Ch. 13 plan provi           all outstanding taxes and other

debts be paid at 100%. She has applied for unemp                         and will be able to

continue to make full payments to the Plan with those b         ts. She is extremely employable

and expects to receive new employment in the very near             She is confident that this income

will easily allow her to make the $590.00 a month plan pa          as well as future tax payments




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 since her only debts consist of the County of Monroe tax         of $3765.44,the City of

 Rochester tax arrears of $2000.00 and her car payment          the lender has agreed to be

 reduced to $390.00 per month under the plan. Only one u       ured creditor exists with a filed

 claim of under $1000.00.

 IE. State Count IPnoceedflnngs"
         20. Under the MCIRTFA, the County                      in rem tax foreclosure action on

 March 29,2023, On September 26,2023 the County publ_           advertised a tax foreclosure

  auction during which the property was sold to Thomas El      the highest bidder, for $6000.00.




C. Bankruptcy court Proceedings
        21. On October 24,2023 Debtor filed the above               Ch. 13 proceeding.

Debtor proposes in her Ch. l3 Plan to pay 100% of the pro       tax arrears of $3765.44 plus any

subsequent taxes owed as assessed by Monroe County.            further proposes to pay 100% of

the City of Rochester tax anears plus any subsequent taxes _        by the City. Debtor will also

pay 100% to the unsecured creditors. Debtor proposes             to the Ch.l3 Trustee directly

through the TFS program.

       22. Debtor has claimed 10 Orleans St as exempt               to U.S..C Sec. 522(d)(5).

which exemption has not been challenged.

       23. Debtor asserts that retention of 10 Orleans St.             for her reorganization.

Debtor is seeking to avoid the transfer of her family home i       to preserve it for her and her

son and pay off creditors through the Ch. 13 plan that was      on October 24,2023. lf the

transfer and sale of10 Orleans St. is allowed to stand, one       ', Monroe County will benefit at

the expense of the other creditors and Debtor will lose the       built up by her family over the



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years.


         24. The Ch. 13 Trustee has not attempted to set        the transfer of Debtors home to

the Defendants , pursuant to 11 U.S.C. Sec. 548(a)(1)(B).        asserts the power to step into the

shoes of the Trustee to avoid the transfer under '11U.S.C.    s22(h).

D.

         i. Debtor has an interest in the property.
         25.      The subject property consists of a single     home on a tenth of an acre at 10

Orleans St, City of Rochester, Monroe County, New York.

         26.      Debtor owns this property by virtue of a    dated December 28,2017 recorded

in the Monroe County Clerk's Office on December 28,201          Liber 11966 of Deeds atpage

692.

         27. Debtor's home is not encumbered by any               , outstanding judgment or liens

other than the subject Monroe County tax lien and the tax      of the City of Rochester.

         28.    On March 29,2023 Monroe County comme            its tax foreclosure action

following which a judgment of foreclosure in the in rem         ing, was filed against Debtor's

home of for the unpaid County taxes.

          ii.

         29. On October 24,2023 Debtor filed the above           ned Chapter 13 petition which is

within two years of the sale of the property.

         iii.   The transfer was without reasonable equi      nt value.

         30. The foreclosure sale to Defendant Ellis of de:   ''s home was for the amount of


$6000.00, well below the value listed in the bankruptcy of    0,000.00 which value was not

challenged by Defendants. Debtor thus lost the ownership       all rights in that property and her




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 100% equity in the property over a relatively small tax I          f the property had been sold for

reasonable value there would have been substantial surplus            ies which would enure to the

benefit of Debtor and her creditors under the provisions of         statute.

        31. Monroe County foreclosed on Debtor,s home                  sum of $3765.44. As a result of

the foreclosure sale, it will be paid the amount of its lien i       ing expenses and the third party

purchaser will be able to benefitt from any proceeds it              from its sale of the property.

        32.      Debtor is entitled to avoidance of the sale of       home as the transfer could have

been avoided by the Trustee under 1 1 U,.S.C. Sec . 54g(a)(
                                                                     ) and because the Trustee has not

attempted to avoid the transfer.

        33. Pursuant to U.S.C. Sec. 548(a))(1)(B), the C             r 13 Trustee may avoid any
transfer by the Debtor, whether voluntary or involuntary               made within 2years of the

filing of the petition, if the Debtor received less than a             equivalent value in exchange

for such transfer and was made insolvent by the transfer.

        lv.

        34. Debtor was rendered insolvent by the involur:            sale of her home. At the time of

sale, the value of her debts outweighed the value of her non        empt assets. Her assets and

liabilities are set forth in the schedules of her Chapter 13 fil_   and reflect her financial status as

of the date of the sale.

                                     VI. CLAIM F'OR

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        35.      Under Article 11 of the NyRpTL, a                  of foreclosure and sale obtained by

the County results in the loss of ownership of such property         all rights in that property

except that the Debtor may claim surplus monies if they exi




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        36.      Debtor is entitled to avoidance of the           of her home by tax pursuant to 11

U.S.C. sec. 522(h), as the transfer could have been avoided       the Trustee under 11 U.S.C sec.

5a8d(a)(1)(B) and because the Trustee has not attempted tc         id the transfer.

        37.         Pursuant to 1IU.S.C. Sec. 5478 (a)(l)(B)=      chapter 13 Trustee may avoid any

transfer by the debtor, whether voluntary or involuntary,            made within 2years of the filing

of the petition. , if the debtor received less than a reasonabl     ivalent value in exchange for

such transfer and was made insolvent by the transfer.

        38.     Debtor has claimed her home as exempt                New York CPLR Sec. 5206.

The state homestead exemption, when claimed in a chapter          proceeding, is applicable to

avoidance of the transfer of homesteads in property tax

        39.     Debtor filed a Chapter 13 repayment plan o           ber24,2023, within 2 years of

the sale.

        40.     The sale of Debtor's home for $6000.00,              to a foreclosure judgment

obtained by Defendant, County of Monroe, dated Septem             6,2023 as a result of unpaid

property taxes assessed against Debtor's home in the amo          t$3765.44 was not for reasonably

equivalent value.

        41.         The transfer of the Debtor's home to          County and subsequent sale to a

third party purchaser was involuntary and without                 equivalent value and the transfer

rendered the Debtor insolvent.

               WHEREFORE , Debtor, the Plaintifl res              ly requests that the Court enter

judgment against the Defendants:

        1.    Avoiding the transfer of title of Debtor's           Defendant Monroe County and

the subsequent sale of her home to the Defendant, Thomas            in the in rem property tax




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foreclosure brought against her home for unpaid property

       2.      Restoring Debtor's ownership and possessc    rights to her home, as set forth in

the deed dated December 28,2017, and recorded in the          County Clerk's Office in Liber

11966 of Deeds at page 0692 on December 2B,ZO|7.

       3      Granting Debtor such other and further reli   may be deemed just and proper.

Dated: January 29,2024
       Pittsford, New York
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